              Case 2:22-cv-01823-MTL Document 16 Filed 10/25/22 Page 1 of 3




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 7
     Attorney for the Defendants
 8
 9                           UNITED STATES DISTRICT COURT

10                                    DISTRICT OF ARIZONA

11
12    Arizona Alliance for Retired Americans;       CASE NO: CV-01823-PHX-MTL
      Voto Latino,
13
14                      Plaintiffs,                      NOTICE OF APPEARANCE

15    vs.
16
      Clean Elections USA; Melody Jennings;
17    Doe Defendants 1–10,
18
                        Defendants.
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21          NOTICE IS HEREBY GIVEN that Veronica Lucero enters her appearance in this

22   matter as counsel of record for Defendants Clean Elections USA and Melody Jennings. It

23   is hereby requested that copies of all notices and filings in the above-captioned matter and
24   any related case documents be sent to:
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      Case 2:22-cv-01823-MTL Document 16 Filed 10/25/22 Page 2 of 3




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 5
 6   DATED this 25th day of October 2022
 7
 8                                                   By: /s/ Veronica Lucero
 9
                                                            Veronica Lucero
10                                               Davillier Law Group, LLC
11                                                4105 N. 20th Street Ste. 110
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13                                                Attorney for the Defendants

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             Case 2:22-cv-01823-MTL Document 16 Filed 10/25/22 Page 3 of 3




 1
                                CERTIFICATE OF SERVICE
 2
 3   I hereby certify that on October 25th, 2022, I electronically submitted the foregoing

 4   document to the Clerk’s Office using the CM/ECF system for filing and transmittal of a

 5   Notice of Electronic Filing to the CM/ECF registrants on record.

 6
                                                                        By: /s/ Veronica Lucero
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